      Case 2:21-cv-00244 Document 5 Filed on 10/25/21 in TXSD Page 1 of 2
                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                                                                                   October 26, 2021
                            UNITED STATES DISTRICT COURT
                                                                                  Nathan Ochsner, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                               CORPUS CHRISTI DIVISION

ABRAHAM BUNDU HAYES,                          §
                                              §
         Plaintiff,                           §
VS.                                           §   CIVIL ACTION NO. 2:21-CV-244
                                              §
PHONSO RAYFORD, et al,                        §
                                              §
         Defendants.                          §

                          OPINION AND ORDER OF TRANSFER

       This is a civil action filed by a Texas state prisoner. Plaintiff Abraham Hayes is

currently incarcerated at the Connally Unit in Kenedy, Texas, which is located in Karnes

County. In his complaint, Plaintiff challenges conditions relating to his confinement at

the Connally Unit. (D.E. 1).


       A civil action wherein jurisdiction is not founded solely on diversity of citizenship

may be brought in (1) a judicial district where any defendant resides, if all defendants

reside in the same state, or (2) a judicial district in which a substantial part of the events

or omissions giving rise to the claim occurred. 28 U.S.C. § 1391(b). In addition, for the

convenience of parties and witnesses, and in the interest of justice, a district court may

transfer any civil action to any other district or division where it might have been

brought. 28 U.S.C. § 1404(a).


       In this case, the events about which Plaintiff complains occurred in Karnes

County, Texas.        None of the Defendants reside or are found in the Corpus Christ i

1/2
      Case 2:21-cv-00244 Document 5 Filed on 10/25/21 in TXSD Page 2 of 2




Division of the Southern District of Texas. Karnes County lies within the San Antonio

Division of the Western District of Texas.     28 U.S.C. § 124(d)(4).     Therefore, the

interests of justice would be served by a transfer to the San Antonio Division of the

Western District of Texas. Accordingly, it is ORDERED that this case be transferred to

the United States District Court for the Western District of Texas, San Antonio Division.

All pending motions are DENIED as moot subject to re-filing after the case is

transferred. The Clerk of Court is directed to CLOSE this case.


      ORDERED this 25th day of October, 2021.


                                            ___________________________________
                                                         Jason B. Libby
                                                  United States Magistrate Judge




2/2
